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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Honorable Marcia S. Krieger

  Civil Action No. 06-cv-02318-MSK-MJW

  ABRAHAM J. OSMAN, and
  DOROTHY K. OSMAN,

                 Plaintiffs,

  v.

  THE UNITED STATES OF AMERICA,

              Defendant.
  _____________________________________________________________________________

               ORDER RESETTING FINAL PRETRIAL CONFERENCE
  _____________________________________________________________________________

         THIS MATTER comes before the Court sua sponte. A scheduling conflict exists at the

  time this matter is set for a Final Pretrial Conference. Accordingly,

         IT IS ORDERED that the Final Pretrial Conference previously set for January 31, 2008,

  at 4:00 p.m. is hereby reset to 2:00 p.m. on that same date.

         DATED this 11th day of January, 2008.

                                                        BY THE COURT:




                                                        Marcia S. Krieger
                                                        United States District Judge
